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1                            DECLARATION OF RUTH C. PINKEL

2          I, Ruth C. Pinkel, declare as follows:

3          1.    I am an Assistant United States Attorney in the U.S.

4    Attorney’s Office for the Central District of California.            I am

5    assigned to represent the government in the case of United States v.

6    Broumand, CR 20-224(A)-RGK, and represented the government during the

7    investigation in this district since 2018.          I am also admitted as a

8    Special Assistant U.S. Attorney in the Northern District of

9    California for purposes of representing the government in the
10   Northern District Broumand matter.        I make this declaration in
11   support of the government’s opposition to defendant’s Motion To

12   Dismiss First Superseding Indictment; or in the Alternative, an Order

13   Compelling Discovery and Continuing Trial Date.          (Dkt. 88.)    I have

14   knowledge of the facts set forth herein and could and would testify

15   to those facts fully and truthfully if called and sworn as a witness.

16         2.    The first grand jury investigation of defendant was opened

17   in this district in August 2018.        I have handled the matter since

18   that time.    From August 2018, the case was handled by DOJ-OIG, which

19   was joined by the IRS from the Northern District (where venue lays

20   for defendant’s tax case).       The FBI joined the investigation in

21   October 2018.

22         3.    During the course of the Broumand investigation, the

23   government uncovered evidence of more substantial corruption

24   committed by Felix Cisneros, Jr., thus undertook to further

25   investigate and charge that case.

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19               b.   Felix Cisneros, Jr. CR 21-51-(RGK), produced

20   throughout the discovery in this case, but primarily in PRODUCTION 8.

21               c.   Felix Cisneros, Jr.        (CR 17-229-CAS), produced

22   previously with one report in the next production.

23               d.   Babak Broumand, produced throughout the majority of

24   productions, which to date, totals over 105,000 pages.

25         6.    Attached hereto are true and correct copies of the

26   following:

27               a.   Exhibit 1 (Filed Under Seal), is a copy of a November

28   8, 2021 letter I sent to defense counsel in response to his October

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1    27, and 28 emails, which collectively contained approximately twenty

2    (20) separate discovery requests.

3                b.   Exhibit 2 (Filed Under Seal), a representative

4    collection of a consent to search and an FBI 302 report reflecting

5    the FBI’s search of the contents of Individual A’s cell phone seized

6    by Los Angeles Sheriff’s Department Det. Pritchard, who is

7    specifically named in the two documents.         The documents reflect that

8    an HSI agent imaged the phone and gave a digital image to the FBI to

9    search.   These documents were produced in discovery on October 6,
10   2020 at bates 69,489 and 69,549 (PRODUCTION 5).          In addition, the
11   specific results of the FBI’s search of the phone (photos, emails,
12   texts, etc.), as well as extraction reports, were also produced on
13   October 6, 2020, between bates numbers 69,549 to 67,788.
14               c.   Exhibit 3, is a copy of a portion of the government’s
15   production index showing production of the reports relating to the
16   Gadaffi money, including three reports written by defendant.             They
17   were produced to defendant in discovery at bates USAO 84734 to 84746
18   (PRODUCTION 10).

19               d.   Exhibit 4, are collectively, the following:

20                    i.    A true and correct copy of portion of the

21   Criminal Complaint (Dkt. 1).

22                    ii.   A true and correct copy of a portion of the

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1    interview of defendant’s FBI Supervisor, SSA Jonathan Kelly, who

2    supervised defendant from January 2016 to mid-2018.

3          I declare under penalty of perjury under the laws of the United

4    States of America that the foregoing is true and correct and that

5    this declaration is executed at Los Angeles, California, on December

6    6, 2021.

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8                                                RUTH C. PINKEL
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